         Case 4:22-md-03047-YGR          Document 1768         Filed 03/14/25     Page 1 of 19



 1   [Parties and Counsel Listed on Signature Pages]
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 7
                                    UNITED STATES DISTRICT COURT
 8
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
      ADDICTION/PERSONAL INJURY PRODUCTS
11    LIABILITY LITIGATION                                    Case No. 4:22-md-03047-YGR (PHK)
12    This Document Relates To:                               AGENDA AND JOINT STATEMENT
13                                                            FOR MARCH 21, 2025, CASE
      ALL ACTIONS                                             MANAGEMENT CONFERENCE
14
                                                              Judge: Hon. Yvonne Gonzalez Rogers
15
                                                              Magistrate Judge: Hon. Peter H. Kang
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                    AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                 4:22-md-03047-YGR
           Case 4:22-md-03047-YGR            Document 1768          Filed 03/14/25      Page 2 of 19



 1
             Pursuant to Case Management Order (“CMO”) No. 1 (ECF 75), the Parties submit this agenda
 2
     and joint statement in advance of the March 21, 2025 Case Management Conference (“CMC”).
 3
     I.      Agenda for Case Management Conference
 4
             Pursuant to CMO 18, the Parties offer the below proposed agenda for the CMC scheduled for
 5
     March 14, 2025:
 6
                Parties’ stipulated agreement as to Defendants’ Answer to Personal Injury (“PI”) Master
 7
                 Complaint, see Section IV(A)
 8
     II.     Joint JCCP Update
 9
             Judge Kuhl held a JCCP CMC on February 19, 2025. The next JCCP CMC is set for March 19,
10
     2025. At the February CMC, Judge Kuhl finalized the JCCP process and schedule for personal injury
11
     bellwether trial pool selections and provided further details regarding the trial schedule. Judge Kuhl’s
12
     rulings on these issues and other issues addressed at the March CMC are set forth in the February 20,
13
     2025 Minute Order, attached as Exhibit A.
14
             In short, of the remaining 17 JCCP bellwether plaintiffs, Judge Kuhl will select 9 plaintiffs for
15
     the bellwether trial pools. Judge Kuhl will select three bellwether trial plaintiffs for each of three trial
16
     setting dates. The first trial date is already set for November 25, 2025, and the parties are to confer as to
17
     proposed dates for Trials 2 and 3. The JCCP parties have begun submitting bellwether discovery
18
     materials (including PFSs, deposition transcripts, and a summary sheet for each personal injury
19
     bellwether discovery pool plaintiff) on a rolling basis, as discovery concludes for each bellwether trial
20
     pool case. On April 1, 2025, the parties will submit briefs to Judge Kuhl setting forth the parties’
21
     recommendations as to the bellwether plaintiffs to be set for trial, along with the parties’ proposed
22
     ordering of the plaintiffs for trial. The parties may also provide reasons why the remaining cases should
23
     not be included in the initial trial pools. Judge Kuhl will hold arguments on the selection and ordering of
24
     bellwether trial plaintiffs on April 15, 2025, at 1:45 pm.
25
             Judge Kuhl also set deadlines for additional motions in limine as to the Trial 1 bellwether
26
     plaintiffs. Judge Kuhl asked the parties to combine the pre-trial scheduling orders from prior Minute
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                       AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                    4:22-md-03047-YGR
             Case 4:22-md-03047-YGR          Document 1768         Filed 03/14/25     Page 3 of 19



 1   Orders into one document, which the parties jointly submitted to the Court on February 26, 2025, and
 2   which the Court so-ordered on March 11, 2025. The combined scheduling order is attached as Exhibit B.
 3             Finally, Judge Kuhl also heard arguments at the February 19, 2025 CMC related to Plaintiffs’
 4   Motion to Lift the Stay on Cases with School District Plaintiffs from Outside of California, Florida,
 5   Washington, and Rhode Island. Judge Kuhl’s March 5, 2025 Order granting Plaintiffs’ Motion to Lift
 6   the Stay is attached as Exhibit C.
 7   III.      Joint Discovery Update
 8             A copy of the following submissions and orders, which were (or will by the next MDL CMC
 9   have been) filed or issued since the last MDL CMC, will be sent by email to Judge Gonzalez Rogers
10   after this CMC Statement is filed:
11          ● February 12, 2025 Order Resolving Joint Letter Brief on State 30(b)(6) Depositions (ECF No.
12             1679)
13          ● February 13, 2025 Order Granting Meta and State AGs’ Stipulation Extending Deadlines to
14             Substantially Complete State Agency Document Productions and Depositions (ECF No. 1696)
15          ● February 27, 2025 Order Granting Stipulated Source Code Protective Order (ECF No. 1728)
16          ● March 11, 2025 Order Granting Stipulation Regarding Rule 26(a)(1)(A)(i) Identification of
17             Priority Witnesses in School District Cases (ECF No. 1752)
18          ● March 11, 2025 Order Granting Stipulation Regarding Deposition Scheduling for TikTok
19             Defendants (ECF No. 1756)
20          ● March 12, 2025 Order Regarding Dispute as to In Camera Review of Two Documents Clawed
21             Back by Plaintiff Jessica Smith (ECF No. 1759)
22          ● Meta and California Go-Biz’s Stipulation and Order Extending Deadline to Brief Discovery
23             Disputes (ECF No. 1763)
24          ● Parties’ joint Discovery Management Conference (“DMC”) Statement for March 20, 2025 DMC,
25             dated March 14, 2025 (ECF No. 1767)
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                        AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                     4:22-md-03047-YGR
           Case 4:22-md-03047-YGR           Document 1768        Filed 03/14/25      Page 4 of 19



 1
     IV.    Other Joint Updates
 2
            A.      Defendants’ Answer to PI Master Complaint
 3
             The Court has resolved all of Defendants’ motions to dismiss. The Parties have agreed, subject
 4
     to Court approval, that Defendants’ Answer to the Personal Injury (“PI”) Master Complaint shall be
 5
     filed by March 28, 2025, and may consist of a general denial plus a list of defenses. The Parties are
 6
     discussing the handling of answers/defenses in individual bellwether cases, if any.
 7
            B.      State AGs’ Petition for Writ of Mandamus and CA & NY Agencies’ Motions for
 8
                    Leave to File Amicus Briefs
 9
            On January 29, 2025, the California AG petitioned the Ninth Circuit for a writ of mandamus to
10
     direct this Court to grant the State AGs’ objection (ECF 1168) to Magistrate Judge Kang’s state agency
11
     discovery order (ECF 1117). ECF 1621-1; Petition for Mandamus, In re The People of the State of
12
     California, No. 25-584 (9th Cir) (Dkt. 1). On January 30, 2025, 27 other State AGs filed a “motion to
13
     intervene/join” in the California AG’s petition. ECF 1624; Mot. to Intervene/Join, In re The People of
14
     the State of California, No. 25-584 (9th Cir) (Dkt. 8). Meta opposed the “motion to intervene/join” and
15
     moved to strike the motion. Meta’s Opp’n to Mot. to Intervene & Cross-Mot. to Strike, In re The
16
     People of the State of California, No. 25-584 (9th Cir) (Dkt. 19.1). The other State AGs responded, see
17
     AGs’ Resp. to Meta’s Mot. to Strike, In re The People of the State of California, No. 25-584 (9th Cir)
18
     (Dkt. 27.1), and Meta replied, Meta’s Reply In Supp. of Cross-Mot. to Strike, In re The People of the
19
     State of California, No. 25-584 (9th Cir) (Dkt. 32.1). The Ninth Circuit has not ruled on these motions.
20
            On February 28, 2025, the Ninth Circuit stayed consideration of the California AG’s mandamus
21
     petition until after this Court ruled on the State AGs’ objection and ordered the California AG to file a
22
     status report within seven days of this Court’s ruling on the State AGs’ objections. Order, In re The
23
     People of the State of California, No. 25-584 (9th Cir) (Dkt. 33.1). On March 13, 2025, the California
24
     AG and other State AGs filed status reports. Status Reports, In re The People of the State of California,
25
     No. 25-584 (9th Cir) (Dkts. 34.1 & 35.1). The California AG asked the Ninth Circuit to (1) lift the stay
26
     and address its mandamus petition on the merits, (2) order this Court to grant the State AGs’ objection to
27
     the state agency discovery order; and (3) stay the state agency discovery order pending resolution of the
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                      AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR            Document 1768         Filed 03/14/25      Page 5 of 19



 1   mandamus petition. California AG Status Report, In re The People of the State of California, No. 25-
 2   584 (9th Cir) (Dkt. 34.1). Because the Ninth Circuit did not order the other State AGs to file a status
 3   report, the other State AGs requested “leave to be heard” and asked the Ninth Circuit to (1) order the
 4   parties to submit supplemental briefs; (2) reverse this Court’s ruling on the State AGs’ objections; and
 5   (3) stay all orders allowing Meta to obtain party discovery from state agencies. State AGs’ Status
 6   Report, In re The People of the State of California, No. 25-584 (9th Cir) (Dkt. 35.1). The State AGs
 7   who were granted relief from the state agency discovery order—Delaware, Kansas, Louisiana, Missouri,
 8   Nebraska, Rhode Island, South Carolina, and Wisconsin—represented that they no longer seek
 9   mandamus relief from the Ninth Circuit. State AGs’ Status Report, In re The People of the State of
10   California, No. 25-584 (9th Cir) (Dkt. 35.1).
11          C.      Notices of Appeal of Failure-to-Warn MTD Orders at ECF 1214 and 1267
12          On March 3, 2025, the Ninth Circuit denied the State AGs’ and PI/SD Plaintiffs’ motions to
13   dismiss Meta’s and TikTok’s appeals, and denied Meta and TikTok’s cross-motion to dismiss the State
14   AGs’ and PI/SD Plaintiffs’ cross-appeals, without prejudice to both sides renewing jurisdictional
15   arguments in the merits briefing. The Ninth Circuit also set a consolidated merits briefing schedule:
16   “The consolidated first briefs on cross-appeal, for appellants in appeal Nos. 24-7032, 24-7037, and 24-
17   7312 [i.e. Meta and TikTok], are due March 31, 2025. The consolidated second briefs on cross-appeal,
18   for appellants in appeal Nos. 24-7265, 24-7300, and 24-7304 [i.e. the PI/SD Plaintiffs and State AGs],
19   are due April 30, 2025. The consolidated third briefs on cross-appeal are due May 30, 2025. The
20   optional consolidated cross-appeal reply briefs are due within 21 days after service of the consolidated
21   third briefs on cross-appeal.”
22          D.      Insurance Coverage Dispute
23          Meta filed its Motion to Stay and Suspend (ECF 67), and the Insurers filed their Motion to
24   Dismiss (ECF 66), on March 5, 2025. Both sides’ respective oppositions are due March 26, 2025 with
25   replies due April 2, 2025. Subject to the Court’s preference and availability, the Parties are available for
26   hearing on both Motions on either April 22, 2025 (current date on Court’s calendar for Insurers’ Motion
27   to Dismiss) or April 23, 2025 (concurrent with the CMC already scheduled for that date).
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                      AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
          Case 4:22-md-03047-YGR             Document 1768          Filed 03/14/25       Page 6 of 19



 1           On March 12, 2025, Meta moved to dismiss, transfer or stay the Insurers' declaratory relief
 2   action pending in Delaware, Case No. 24-cv-1422. The Insurers’ oppositions to that motion are due on
 3   March 26, 2025, and replies are due on April 2, 2025. The Insurers’ motions to remand and Meta’s
 4   motion to stay the Delaware action are both fully briefed.
 5           The Insurers’ motion to vacate the Conditional Transfer Order, conditionally transferring their
 6   Delaware declaratory relief action to the MDL, has been fully briefed and is set for hearing without oral
 7   argument before the JPML on March 27, 2025.
 8           E.      Update on Discovery Timeline for State AGs
 9           Following the last CMC, Meta agreed with the States suing in the MDL to a continuance of time
10   for the States to complete their discovery. This agreement, which Magistrate Judge Kang entered on
11   February 13, 2025, extended the time for Meta to complete discovery of the States, from April 4, 2025 to
12   July 19, 2025. ECF 1696. Meta maintains that it has experienced and continues to experience prejudice
13   as a result of the States’ discovery delays, and reserves the right to seek as relief for that prejudice an order
14   taking the States off the trial track in the MDL. Without waiving any rights, the State AGs disagree and
15   will object to any request for relief on this issue.
16           F.      Expert Report Deadlines for State AGs
17           The State AGs wish to apprise the Court that one or both sides may in the future request an
18   extension of the expert deadlines for AG-related expert reports, such as those relating to liability under
19   COPPA and remedies for consumer protection act and COPPA violations. Whether such an extension is
20   sought will depend on the outcome and timing of discovery, including discovery on which the Parties have
21   been engaged in ongoing conferrals, which are continuing.
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                      AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                   4:22-md-03047-YGR
         Case 4:22-md-03047-YGR           Document 1768        Filed 03/14/25      Page 7 of 19



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                                                 4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 1768         Filed 03/14/25     Page 8 of 19



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                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR       Document 1768         Filed 03/14/25     Page 9 of 19



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             AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                          4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 10 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 11 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 12 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 13 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 14 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 15 of 19



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                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 16 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 17 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
     Case 4:22-md-03047-YGR        Document 1768        Filed 03/14/25      Page 18 of 19



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              AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                           4:22-md-03047-YGR
         Case 4:22-md-03047-YGR           Document 1768         Filed 03/14/25      Page 19 of 19



 1
                                                ATTESTATION
 2
            I, Lexi J. Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the
 3
     filing of this document has been obtained from each signatory hereto.
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     Dated: March 14, 2025
 6                                                By:     /s/ Lexi J. Hazam
                                                          Lexi J. Hazam
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                     AGENDA AND JOINT STATEMENT FOR MARCH 21, 2025, CASE MANAGEMENT CONFERENCE
                                                  4:22-md-03047-YGR
